wpa Pe OY

aa

 

eocu:

Case 7:17-cv-06911-NSR Document 30 Filed 05/24/18 Page 1 of 2 Romen, J. My

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

STEPHEN MOYER and KEVIN MOYER,

Plaintiffs,
Case No. 7:17-cv-0691 1-NSR

-against-

SUMMIT RECEIVABLES, a Nevada corporation,
and ANTHONY GUADAGNA, individually,

Defendants.

 

 

SPROPOSED}] ORDER GRANTING DEFAULT JUDGMENT AGAINST DEFENDANTS
SUMMIT RECEIVABLES AND ANTHONY GUADAGNA

Before the Court is Plaintiffs’, Stephen Moyer and Kevin Moyer, Request for the Entry of
Default Judgment against Defendants, Summit Receivables and Anthony Guadagna. Defendants
have failed to appear or otherwise respond to Plaintiff's Complaint, have been defaulted by the
Clerk of this Court, have failed to respond to this Court’s April 13, 2018 Order to Show Cause,
and have failed to appear at this Court’s Order to Show Cause Hearing that was held on May 23,
2018.

Upon consideration, and after due deliberation and sufficient cause appearing therefore,
Plaintiffs’ Request is GRANTED and Default Judgment is hereby entered against Defendants,
Summit Receivables and Anthony Guadagna, in the amount of $6,361.50, comprised of:

1. Actual damages in the amount of $250.00 pursuant to 15 U.S.C. § 1692k(1);

2. Statutory damages in the amount of $2,000.00 pursuant to 15 U.S.C. § 1692k@)(A);

| use sou |
ONE

{| RLEC t -ONICALLY VIL".

“Titans l2¥ [ae

eer
ya
mera

 
Case 7:17-cv-06911-NSR Document 30 Filed 05/24/18 Page 2 of 2

3. Attorneys’ fees in the amount of $3,223.50 and costs in the amount of $888.00

pursuant to 15 U.S.C. § 1692k(3).

IT IS SO ORDERED.

Dated: La 24 Zag

 

CHonofable Nelson S. Romén
United States District Judge

 
